       Case 3:22-cr-00336-JLS Document 5 Filed 02/22/22 PageID.9 Page 1 of 17




 1 RANDY S. GROSSMAN
   Acting United States Attorney
 2 SABRINA L. FEVE
   Assistant United States Attorney
 3 California Bar No. 226590
   Federal Office Building
 4 880 Front Street, Room 6293
   San Diego, California 92101-8893
 5 Telephone: (619) 546-6786
   Email: Sabrina.Feve@usdoj.gov
 6
     Attorneys for United States of America
 7

 8                               UNITED STATES DISTRICT COURT

 9                           SOUTHERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                Case No. 22CR0336-JLS

11                  Plaintiff,
             v.                               PLEA AGREEMENT
12
      D ANIEL MORENO (2),
13
14
                    Defendants.
15
16        IT IS HEREBY       AGREED    between the plaintiff,     UNITED STATES OF
17   AMERICA, through its counsel, Randy S. Grossman, Acting United States
18 Attorney, and Sabrina L. Feve, Assistant United States Attorney, and
19 Defendant Daniel Moreno, with the advice and consent of Frank Morell,
20 counsel for Defendant, as follows:
21                                            I

22                                         THE PLEA
23        Defendant agrees to waive Indictment and plead guilty to an
24 Information charging Defendant with:
25        Beginning on a date unknown but no later than August 2014,
          and continuing until in or around June 2017, in the Southern
26        District of California and elsewhere, defendants CARLOS
          GUERRERO and DANIEL MORENO did knowingly and intentionally
27        conspire to commit of fenses against the United States, to
          wit: a) interception of wire and electronic communications,
28        namely, to intentionally intercept, endeavor to intercept,

      Plea        reement                                       Def. Initials   l)t\
          Case 3:22-cr-00336-JLS Document 5 Filed 02/22/22 PageID.10 Page 2 of 17



             procure another person to intercept, and procure another
 1           person to endeavor to intercept the contents of one or more
             communications and the interception was done or attempted
 2           using an electronic, mechanical, and other device, and the
             targeted communication and communications were wire or
 3           electronic communications, in violation of Title 18, United
             States Code, Section 2511(1) (a); and b) sale of interception
 4           devices,  namely to intentionally manufacture,       assemble,
             possess, and sell a device, knowing and having reason to know
 5           that the design of the device rendered it primarily useful
             for the purpose of the surreptitious interception of wire and
 6           electronic communications, and such device and any component
             thereof has been or will be sent through the mail or
 7           transported in interstate and foreign commerce, in violation
             of Title 18, United States Code, Section 2512 (1) (b).
 8
             All in violation of Title 18, United States Code, Section 371
 9
             In exchange for Defendant's guilty plea, the Government agrees not
10
     to      prosecute       Defendant     for    conspiring    to   violate        18                   u.s.c.
11
     §    1030 (a) (2) (C)   and   (c) (2) (B) (i),   unless Defendant breaches the plea
12
     agreement or the guilty plea entered pursuant to this plea agreement is
13
     set aside for any reason. If Defendant breaches this agreement or the
14
     guilty plea is set aside, section XII below shall apply.
15
             Defendant further agrees to forfeit to the United States the sum
16
     of $25,000 as proceeds he personally obtained from the offense.                                                 The
17
     forfeiture is more fully set forth in Section X(G) below.
18
             This plea agreement is part of a "package" disposition as set forth
19
     in Section VI.E below
20
                                                      II
21
                                       NATURE OF THE OFFENSE
22
             A.     ELEMENTS EXPLAINED
23
             The offense to which Defendant is pleading guilty has the following
24
     elements:
25
             18   u.s.c   § 371
26
                    1.    There was    an agreement between two or more persons                                         to
27
     commit at least one crime, as charged in the Information;
28
                                                      2
                                                                     Def. Initials
                                                                               .I • • L - ~   .1 •
                                                                                                         Dn
                                                                                                     . 1-.1 . . 1.   -.-,-......-
       Case 3:22-cr-00336-JLS Document 5 Filed 02/22/22 PageID.11 Page 3 of 17




 1                   2. Defendant became a member of the conspiracy knowing of at

 2   least one of its objects and intending to help accomplish it; and

 3                   3. One of the members of the conspiracy performed at least

 4   one overt act for the purpose of carrying out the conspiracy.

 5           B.      ELEMENTS UNDERSTOOD AND ADMITTED - FACTUAL BASIS

 6           Defendant has fully discussed the facts of this case with defense

 7   counsel. Defendant has committed each element of the crime and admits

 8   that there is a factual basis for this guilty plea. The following facts

 9   are true and undisputed:

10                   1.      At     all        relevant       times,       Carlos         Guerrero            owned                                 a

11   consortium of U.S. and Mexican companies that included Elite by Carga.

12   During this period,                Defendant worked for Elite by Carga and the other

13   companies that belonged to Guerrero's consortium.

14                   2.      Prior to August 2014, Defendant agreed with one or more

15   other        persons,        including          co-defendant         Carlos     Guerrero,              to                 sell,

16   distribute,          and     use     devices      whose       primary     use    and     design                  was                    to

17   surreptitiously intercept wire, electronic, and stored communications.

18   Defendant,       along with Guerrero and others,                        also engaged in the sale,

19   distribution,         and use of these devices                       for commercial advantage and

20   financial gain.

21                   3.      On    August       7,    2014,       Defendant    and        Guerrero           met                      with

22   representatives of an Italian company (Company A) in San Diego regarding

23   interception          devices        manufactured            by   Company       A.    Company              A              sales

24   materials       described           the    devices,          which    originated        from           Italy,                          as

25   allowing users to "[h] ack into your targets ['] .... wireless network" to

26   intercept communications and geolocate targets. Company A demonstrated

27   the devices to Defendant and Moreno at their initial San Diego meeting.

28

                                                              3
                                                                                     Def. Initials
                                                                                                -'- .J. -
                                                                                                                          DY\•
                                                                                                            ....... _._ _,_ ·'- _,_    ....,..., ..........
          Case 3:22-cr-00336-JLS Document 5 Filed 02/22/22 PageID.12 Page 4 of 17




 1   Following the meeting, Defendant and Guerrero agreed that Elite by Carga

 2   would become a Mexican sales representative for Company A.

 3                 4.     After entering this agreement,               Defendant and Guerrero,

 4   through Elite by Carga, earned commissions brokering the sale of Company

 5   A's interception devices to the Mexican state governments of Baja and

 6   Durango. To facilitate the sales, Moreno repeatedly arranged for Elite

 7   by Carga employees to transport Company A representatives and devices

 8   between San Diego and Mexico.

 9                 5.     Defendant    understood that           the   Company A interception

10   equipment sold to Mexican clients could and likely would be used for

11   political purposes,       not just for law enforcement purposes.                 Defendant

12   knew this,     in part, because Guerrero and his consortium arranged for

13   the Mayor of a town in the Mexican state of Morelos to gain unauthorized

14   access to the U.S.-based Twitter,                  Hotmail,   and iCloud accounts of a

15   political rival.

16                 6.     Defendant also knew that Company A's devices were used

17   for     commercial,    rather    than    law   enforcement,         purposes   because,    in

18   December     2015,    Defendant    and   Guerrero       successfully     intercepted      the

19   phone calls of a business competitor to benefit Guerrero's consortium.

20   The interception and geolocation of Guerrero's competitor's cellular

21   phone occurred while the competitor was both in Mexico and Southern

22   California.

23                 7.     In addition to working with Company A, Guerrero directed

24   Defendant     to develop relationships with other international                      vendors

25   that,    like Company A,    sold interception devices and hacking services.

26   Through      these    contacts,     Defendant         and     Guerrero   marketed      other

27   providers'     devices and services to clients in Mexico and the United

28
                                                    4
     p·
                                                                          Def. Initials   uf\
       Case 3:22-cr-00336-JLS Document 5 Filed 02/22/22 PageID.13 Page 5 of 17




 1   States and advertised the monthly rate for access to these devices and

 2   services as approximately $25,000 USD.

 3               8.      In particular, in 2016 and 2017, Defendant and Guerrero

 4   marketed signal jammers, Wi-Fi interception tools,                     IMSI catchers,     and

 5   the ability to hack WhatsApp messages,                 in addition to the geolocation

 6   and cell phone interception services Defendant and Guerrero sold on

 7   behalf of Company A.         Because Defendant,           Guerrero,    and Elite by Carga

 8   imported    these    devices   and     services     from     Italy,    Israel,    and   other

 9   foreign    countries,     Defendant     knew and understood that these devices

10   were transported in foreign commerce.

11               9.      During     2016     and       2017,      Defendant      and     Guerrero

12   successfully arranged for individual clients in the United States and

13   Mexico to gain unauthorized access to cell phone wire communications

14   and electronic communication accounts located in the United States. For

15   example,   in February 2017,          Defendant and Guerrero agreed to hack the

16   phone and email account of a Florida-based sales representative of a

17   large Mexican business in exchange for an approximately $25,000 payment

18   from the Mexican business.

19                                              III

20                                           PENALTIES

21        The    crime    to   which   Defendant       is    pleading      guilty   carries    the

22   following penalties:

23        A.     a maximum 5 years in prison;

24        B.     a maximum $250,000 fine;

25        C.     a mandatory special assessment of $100 per count; and

26        D.     a    term of supervised release of up to 3 years.                     Failure to

27               comply with any condition of supervised release may result in

28
                                                   5
                                                                           Def. Initials     Drl\
          Case 3:22-cr-00336-JLS Document 5 Filed 02/22/22 PageID.14 Page 6 of 17




 1                 revocation    of   supervised    release,   requiring   Defendant     to

 2                 serve in prison, upon revocation, all or part of the statutory

 3                 maximum term of supervised release.

 4                                          IV
                          DEFENDANT'S WAIVER OF TRIAL RIGHTS AND
 5                            UNDERSTANDING OF CONSEQUENCES

 6           This guilty plea waives Defendant's right at trial to:

 7           A.    Continue to plead not guilty and require the Government to

 8                 prove the elements of the crime beyond a reasonable doubt;

 9           B.    A speedy and public trial by jury;

10           C.    The assistance of counsel at all stages;

11           D.    Confront and cross-examine adverse witnesses;

12           E.    Testify and present evidence and to have witnesses testify on

13                 behalf of Defendant; and,

14           F.    Not testify or have any adverse inferences drawn from the

15                 failure to testify.

16           Defendant has been advised by counsel and understands that because

17   defendant is not a citizen of the United States, defendant's conviction

18   in    this   case   may   have   adverse   immigration    consequences,   including

19   defendant's removal or deportation from the United States.                Defendant

20   may also be denied United States citizenship and admission to the United

21   States in the future.
                                                V
22
                    DEFENDANT ACKNOWLEDGES NO PRETRIAL RIGHT TO BE
23          PROVIDED WITH IMPEACHMENT AND AFFIRMATIVE DEFENSE INFORMATION
24           Any information establishing the factual           innocence of Defendant

25   known to the undersigned prosecutor in this case has been turned over

26   to Defendant. The Government will continue to provide such information

27   establishing the factual innocence of Defendant.

28

     p•                                         6
                                                                  Def. Initials     00
       Case 3:22-cr-00336-JLS Document 5 Filed 02/22/22 PageID.15 Page 7 of 17




 1        If this case proceeded to trial, the Government would be required

 2   to provide impeachment information for its witnesses. In addition,                                                   if

 3   Defendant    raised   an    affirmative   defense,   the    Government             would                             be

 4   required to provide information in its possession that supports such a

 5   defense.    By   pleading    guilty   Defendant   will     not   be   provided                                   this

 6   information, if any, and Defendant waives any right to this information.

 7   Defendant will not attempt to withdraw the guilty plea or to file a

 8   collateral attack based on the existence of this information.
                                       VI
 9
                        DEFENDANT'S REPRESENTATION THAT GUILTY
10                          PLEA IS KNOWING AND VOLUNTARY

11        Defendant represents that:

12        A.     Defendant has had a full opportunity to discuss all the facts
                 and circumstances of this case with defense counsel and has
13               a clear understanding of the charges and the consequences of
                 this plea. By pleading guilty, Defendant may be giving up,
14               and rendered ineligible to receive, valuable government
                 benefits and ci vie rights, such as the right to vote, the
15               right to possess a firearm, the right to hold office, and the
                 right to serve on a jury. The conviction in this case may
16               subject   Defendant   to  various  collateral   consequences,
                 including but not limited to revocation of probation, parole,
17               or supervised release in another case; debarment from
                 government contracting; and suspension or revocation of a
18               professional license, none of which can serve as grounds to
                 withdraw Defendant's guilty plea.
19
          B.     No one has made any promises or offered any rewards in return
20               for this guilty plea, other than those contained in this
                 agreement or otherwise disclosed to the Court.
21
          C.     No one has threatened Defendant          or    Defendant's            family                              to
22               induce this guilty plea.
23        D.     Defendant is pleading guilty because Defendant is guilty and
                 for no other reason.
24
          E.     The disposition contemplated by this agreement is part of a
25               "package" disposition with codefendant Daniel Moreno. If any
                 defendant in the package fails to perform or breaches any
26               part of their agreement, no defendant can withdraw their
                 guilty plea, but the Government is relieved from and not bound
27               by any terms in any agreements in the package.
28
                                               7
                                                                  Def. Initials                             ::!)ti\        (;
                                                                             .I.   -•--T"'<   .I • . t • • I • . I.    -.-,...,.,...
       Case 3:22-cr-00336-JLS Document 5 Filed 02/22/22 PageID.16 Page 8 of 17



                                              VII
 1
                   AGREEMENT LIMITED TO U.S. ATTORNEY'S OFFICE
 2                       SOUTHERN DISTRICT OF CALIFORNIA

 3         This plea agreement is limited to the United States Attorney's

 4   Office for the Southern District of California,                 and cannot bind any

 5   other authorities in any type of matter, although the Government will

 6   bring this plea agreement        to the attention of other authorities              if

 7   requested by Defendant.

 8                                            VIII

 9                       APPLICABILITY OF SENTENCING GUIDELINES

10         The sentence imposed will be based on the factors set forth in 18

11   U.S.C. § 3553(a). In imposing the sentence, the sentencing judge must

12   consult the United States Sentencing Guidelines               (Guidelines)   and take

13   them into account. Defendant has discussed the Guidelines with defense

14   counsel   and understands      that   the Guidelines      are    only advisory,    not

15   mandatory. The Court may impose a sentence more severe or less severe

16   than otherwise applicable under the Guidelines,               up to the maximum in

17   the statute of conviction.       The sentence cannot be determined until a

18   presentence report is prepared by the U.S. Probation Office and defense

19   counsel and the Government have an opportunity to review and challenge

20   the   presentence    report.   Nothing    in    this   plea   agreement   limits   the

21   Government's duty to provide complete and accurate facts to the district

22   court and the U.S. Probation Office.

23                                             IX

24                  SENTENCE IS WITHIN SOLE DISCRETION OF JUDGE

25         This plea agreement is made pursuant to Federal Rule of Criminal

26   Procedure 11 (c) (1) (B). The sentence is within the sole discretion of

27   the sentencing judge who may impose the maximum sentence provided by

28
                                               8
                                                                     Def. Initials   :Q1_
       Case 3:22-cr-00336-JLS Document 5 Filed 02/22/22 PageID.17 Page 9 of 17




 1   statute.    It is uncertain at this time what Defendant's sentence will

 2   be.   The Government has not made and will not make any representation

 3   about what sentence Defendant will receive. Any estimate of the probable

 4   sentence by defense counsel is not a promise and is not binding on the

 5   Court. Any recommendation by the Government at sentencing also is not

 6   binding on the Court.      If the sentencing judge does not follow any of

 7   the parties'      sentencing recommendations,   Defendant will not withdraw

 8   the plea.

 9                                          X

10                        PARTIES' SENTENCING RECOMMENDATIONS

11         A.     SENTENCING GUIDELINE CALCULATIONS

12         Although the Guidelines are only advisory and just one factor the

13   Court will consider under 18 U.S.C. § 3553(a)         in imposing a sentence,

14   the parties will jointly recommend the following Base Offense Level,

15   Specific Offense Characteristics, Adjustments, and Departures:

16
                  1.    Base Offense Level [§ 2H3 .1 (a) (1)]               9
17                2.    Commercial Advantage/Economic Gain                +3
                        [§ 2H3.1 (b)]
18                3.    Acceptance of Responsibility [§ 3El.1]            -2
19         B.     ACCEPTANCE OF RESPONSIBILITY

20         Despite paragraph A above,      the Government need not recommend an

21   adjustment    for Acceptance of Responsibility if Defendant engages            in

22   conduct inconsistent with acceptance of responsibility including, but

23   not limited to, the following:

24                1.    Fails to truthfully admit a complete factual basis as

25                      stated in the plea at the time the plea is entered, or

26                      falsely denies, or makes a statement inconsistent with,

27                      the factual basis set forth in this agreement;

28
                                            9
                                                               Def. Initials     !)Y\
                                                                                    <
          Case 3:22-cr-00336-JLS Document 5 Filed 02/22/22 PageID.18 Page 10 of 17
                                     \...,/




 1                      2.      Falsely denies prior criminal conduct or convictions;

 2                      3.      Is       untruthful          with    the   Government,         the    Court       or

 3                              probation officer; or

 4                      4•      Fails to timely pay the $25,000 forfeiture to the United

 5                              States; or

 6                      5.      Breaches this plea agreement in any way.

 7
             C.         FURTHER ADJUSTMENTS AND SENTENCE REDUCTIONS INCLUDING THOSE
 8                      UNDER 18 U.S.C. § 3553

 9           Defendant           may            request       or     recommend        additional       downward

10   adjustments,            departures,              or variances from the Sentencing Guidelines

11   under        18    U.S.C.       §        3553.    The   Government        will   oppose    any    downward

12   adjustments,            departures,              or   variances     not   set    forth    in    Section      X,

13   paragraph A above.

14           D.         NO AGREEMENT AS TO CRIMINAL HISTORY CATEGORY

15           The parties have no agreement as to Defendant's Criminal History

16   Category.

17           E.         "FACTUAL BASIS" AND "RELEVANT CONDUCT" INFORMATION

18           The facts in the "factual basis" paragraph of this agreement are

19   true and may be considered as "relevant conduct" under USSG § lBl.3 and

20   as     the        nature    and          circumstances         of   the   offense    under       18   U.S.C.

21   §    3553 (a) (1).

22           F.         PARTIES' RECOMMENDATIONS REGARDING CUSTODY

23           The Government will recommend that Defendant be sentenced to the

24   low end of the advisory guideline range recommended by the Government

25   at sentencing.

26   II
27

28
                                                               10
                                                                                       Def. Initials       1>t\
      Case 3:22-cr-00336-JLS Document 5 Filed 02/22/22 PageID.19 Page 11 of 17




 1          G.      SPECIAL ASSESSMENT/FINE/FORFEITURE

 2                  1.      Special Assessment

 3          The parties will jointly recommend that Defendant pay a special

 4   assessment in the amount of $100.00 per felony count of conviction to

 5   be paid forthwith at time of sentencing. Special assessments shall be

 6   paid through the office of the Clerk of the District Court by bank or

 7   cashier's check or money order made payable to the "Clerk, United States

 8   District Court."

 9                  2.      Fine

10          The     parties      will    not    recommend       imposition    of    a    fine     given

11   Defendant's forfeiture agreement.

12                  3.      Forfeiture

13          Defendant        agrees     to   forfeit      the   $25,000   payment       his   business

14   received in or about February 2017. Defendant agrees he will deliver a

15   cashier's check in the amount of $25,000 payable to "Customs and Border

16   Protection" bearing his name, case number, and noting it is for payment

17   of a   forfeiture pursuant to a plea agreement.                      Defendant agrees that

18   the United States may process this payment for forfeiture criminally,

19   civilly, or administratively and Defendant waives all rights to notice

20   and all rights to contest the forfeiture on any grounds.                                 Defendant

21   agrees the United States may process the forfeiture under any statutory

22   basis it deems appropriate.

23          Defendant consents and agrees to the immediate entry of an order

24   of forfeiture upon entry of the guilty plea(s). Defendant further agrees

25   that    upon    entry       of   the    order   of     forfeiture,    such    order       will   be

26   considered          final   as   to defendant.         Defendant     agrees    to   immediately

27   withdraw any claims to property directly or indirectly related to the

28
                                                       11
                                                                            Def. Initials        !)t1
       Case 3:22-cr-00336-JLS Document 5 Filed 02/22/22 PageID.20 Page 12 of 17




 1   criminal conduct seized in connection with this case in any pending
 2   administrative and civil             forfeiture proceeding,          and consents to the
 3   forfeiture of all properties seized in connection with this case to the

 4   United       States.   Defendant      agrees     to   execute      any    and   all   documents

 5   requested by the Government to facilitate or complete the forfeiture

 6   process.       Defendant further agrees not to contest or to assist any other

 7   person or entity in contesting the forfeiture of the property seized in

 8   connection with this case.            Defendant further agrees that the forfeiture

 9   judgment       imposed   by    the    Court    will    be    (i)    subject     to    immediate

10   enforcement, and (ii) submitted to the Treasury Offset Program so that

11   any federal         payment or transfer of            returned property the           Defendant

12   receives may be offset and applied to the outstanding balance on the

13   forfeiture.
14         Defendant consents and agrees to the entry of orders of forfeiture

15   for   such property and waives             the      requirements     of    Federal    Rules      of

16   Criminal Procedure 32.2 and 43(a) regarding notice of the forfeiture in

17   the charging instrument, announcement of the forfeiture at sentencing,

18   and   incorporation       of    the     forfeiture      in   the    judgment.         Defendant

19   acknowledges that defendant understands that the forfeiture of assets

20   is part of the sentence that may be imposed in this case and waives any

21   failure by the Court to advise defendant of this,                           pursuant to Rule

22   11 (b) (1)   (J),   at the time the Court accepts the guilty plea (s).

23         Defendant further agrees to waive all constitutional and statutory

24   challenges in any manner              (including direct appeal,            habeas corpus,        or

25   any other means) to any forfeiture carried out in accordance with this

26   agreement on any grounds, including that the forfeiture constitutes an

27   excessive fine or punishment.              Defendant agrees to take all steps as

28
                                                    12
     Pc                                                                       Def. Initials   l)'<\
          Case 3:22-cr-00336-JLS Document 5 Filed 02/22/22 PageID.21 Page 13 of 17




 1   requested by the United States to pass clear title to forfeitable assets

 2   to     the    United       States,         and    to    testify          truthfully         in    any    judicial

 3   forfeiture proceeding.

 4           Defendant          agrees         that   the    forfeiture             provisions        of     this     plea

 5   agreement are intended to, and will, survive defendant, notwithstanding

 6   the abatement of any underlying criminal conviction after the execution

 7   of     this       agreement.          The    forfei tabili ty            of    any     particular        property

 8   pursuant to this                agreement        shall be determined as                     if defendant had

 9   survived,          and    that       determination           shall   be       binding upon            defendant's

10   heirs, successors and assigns.

11           H.        SUPERVISED RELEASE

12           If the Court imposes a term of supervised release, Defendant will

13   not seek to reduce or terminate early the term of supervised release

14   until     Defendant            has   served at         least       2/3    of    the     term of        supervised

15   release and has fully paid and satisfied any special assessments, fine,

16   criminal forfeiture judgment, and restitution judgment.

17                                                            XI

18                           DEFENDANT WAIVES APPEAL AND COLLATERAL ATTACK

19           Defendant          waives          (gives      up)     all        rights       to     appeal      and       to

20   collaterally             attack      every       aspect       of    the       conviction         and    sentence,

21   including any restitution order: up to $30,000. This waiver includes,

22   but is not limited to,                    any argument that the statute of conviction or

23   Defendant's prosecution is unconstitutional and any argument that the

24   facts        of    this    case      do    not    constitute         the       crime    charged.         The     only

25   exceptions are 1) Defendant may appeal a custodial sentence above the

26   high     end       of    the    guideline        range       recommended          by    the      Government         at

27   sentencing (if USSG § 5Gl.l(b) applies, the high end of the range will

28
                                                              13
     P'                                                                                     Def. Initials           1) 11.
I
              Case 3:22-cr-00336-JLS Document 5 Filed 02/22/22 PageID.22 Page 14 of 17




     1   be      the   statutorily           required   mandatory         minimum   sentence),      and

     2   2)    Defendant may collaterally attack the conviction or sentence on the

     3   basis     that        Defendant    received ineffective assistance of counsel.                 If

     4   Defendant appeals, the Government may support on appeal the sentence or

     5   restitution order actually imposed.

     6                                                  XII

     7                                     BREACH OF THE PLEA AGREEMENT

     8           Defendant and Defendant's attorney know the terms of this agreement

     9   and shall raise, before the sentencing hearing is complete, any claim

    10   that the Government has not complied with this agreement.                       Otherwise,

    11   such claims shall be deemed waived                   (that is,    deliberately not raised

    12   despite awareness that the claim could be raised), cannot later be made

    13   to any court, and if later made to a court, shall constitute a breach

    14   of this agreement.

    15           Defendant breaches this agreement if Defendant violates or fails

    16   to perform any obligation under this agreement. The following are non-

    17   exhaustive examples of acts constituting a breach:

    18                 1.         Failing to plead guilty pursuant to this agreement;

    19                 2.         Failing to fully accept responsibility as established in

    20                            Section X, paragraph B, above;

    21                 3.         Failing to appear in court;

    22                 4.         Attempting to withdraw the plea;

    23                 5.         Failing to abide by any court order related to this case;

    24                    6.      Appealing (which occurs if a notice of appeal is filed)

    25                            or collaterally attacking the conviction or sentence in

    26                            violation of Section XI of this plea agreement; or

    27

    28
                                                        14
         P.                                                                    Def. Initials     ~'7\
      Case 3:22-cr-00336-JLS Document 5 Filed 02/22/22 PageID.23 Page 15 of 17
                                ,._,,l




 1                  7.    Engaging in additional criminal conduct from the time of

 2                        arrest until the time of sentencing.

 3           If Defendant breaches this plea agreement,                              Defendant will not be

 4   able to enforce any provisions, and the Government will be relieved of

 5   all     its   obligations            under     this    plea         agreement.        For    example,          the

 6   Government may proceed to sentencing but recommend a different sentence

 7   than what it agreed to recommend above.                             Or the Government may pursue

 8   any    charges      including          those     that        were        dismissed,     promised         to     be

 9   dismissed, or not filed as a result of this agreement (Defendant agrees

10   that    any statute of limitations                     relating to           such charges          is    tolled

11   indefinitely as of the date all parties have signed this agreement;

12   Defendant also waives any double jeopardy defense to such charges). In

13   addition, the Government may move to set aside Defendant's guilty plea.

14   Defendant may not withdraw the guilty plea based on the Government's

15   pursuit of remedies for Defendant's breach.

16           Additionally,          if Defendant breaches this plea agreement:                               (i)    any

17   statements made by Defendant,                    under oath,             at the guilty plea hearing

18   (before either a Magistrate Judge or a District Judge); (ii) the factual

19   basis    statement        in        Section    II .B    in    this        agreement;        and    (iii)       any

20   evidence derived from such statements, are admissible against Defendant

21   in any prosecution of, or any action against, Defendant. This includes

22   the    prosecution of           the     charge (s)      that        is    the   subject      of    this       plea

23   agreement or any charge(s)                    that the prosecution agreed to dismiss or

24   not    file   as part of this             agreement,          but later pursues because of a

25   breach        by    the        Defendant.         Additionally,                 Defendant          knowingly,

26   voluntarily, and intelligently waives any argument that the statements

27   and    any evidence derived               from    the       statements          should be         suppressed,

28
                                                            15
                                                                                       Def. Initials          1)1"1
          Case 3:22-cr-00336-JLS Document 5 Filed 02/22/22 PageID.24 Page 16 of 17




 1   cannot be used by the Government, or are inadmissible under the United

 2   States     Constitution,      any statute,       Rule   410   of   the   Federal Rules         of

 3   Evidence,       Rule 11 (f)   of the Federal Rules of Criminal Procedure,                   and

 4   any other federal rule.

 5                                              XIII

 6                          CONTENTS AND MODIFICATION OF AGREEMENT

 7           This    plea   agreement    embodies      the   entire     agreement    between     the

 8   parties        and   supersedes    any   other    agreement,       written     or   oral.      No

 g   modification of this plea agreement shall be effective unless in writing

10   signed by all parties.

11                                               XIV

12                    DEFENDANT AND COUNSEL FULLY UNDERSTAND AGREEMENT

13           By signing this agreement, Defendant certifies that Defendant has

14   read it      (or that it has been read to Defendant in Defendant's native

15   language) .      Defendant has discussed the terms of this agreement with

16   defense counsel and fully understands its meaning and effect.

17   //

18   //

19

20

21

22

23

24

25

26

27

28
                                                  16
                                                                          Def. Initials     l)'Y\
         Case 3:22-cr-00336-JLS Document 5 Filed 02/22/22 PageID.25 Page 17 of 17




 1                                               xv
 2                                DEFENDANT SATISFIED WITH COUNSEL

 3             Defendant    has    consulted   with   counsel    and    is   satisfied    with

 4   counsel's representation. This is Defendant's independent opinion, and

 5   Defendant's counsel did not advise Defendant about what to say in this

 6   regard.
                                                  RANDY S. GROSSMAN
 7                                                Acting United States Attorney

 8

 9   DATED                                        S~EV~
                                                  Assistant U.S. Attorney
10

11
     DATE            '
                                                  c;;'~c;:~
                                                  FRANK MORELL
12                                                Defense Counsel

13   IN ADDITION TO THE FOREGOING PROVISIONS TO                 CH I AGREE, I SWEAR UNDER
     PENALTY OF PERJURY THAT THE FACTS IN THE"                   UAL BASIS" SECTION ABOVE
14   ARE TRUE.

15                                                                -------------
              L&LJtLJ.1
                    1
16   DATED'                                       DANIEL

17

18   r\
19
     Ap~
     i          I
                    ed By
     '    .     )
20
               N. PA
21            stant U.S.           ney

22

23

24

25

26

27

28
                                                 17
     Pi:?                                                              Def. Initials     l}\\
